
203 P.3d 373 (2009)
226 Or. App. 415
STATE ex rel. LEUPOLD &amp; STEVENS, INC., an Oregon corporation, Relator-Appellant,
v.
CITY OF BEAVERTON, an Oregon municipal corporation, Defendant-Respondent.
C060665CV; A133201.
Court of Appeals of Oregon.
Argued and Submitted May 6, 2008.
Decided March 4, 2009.
Charles F. Hinkle, Portland, argued the cause for appellant. With him on the briefs were Andrew R. Gardner, Robert D. Van Brocklin, and Stoel Rives LLP.
William J. Scheiderich, Beaverton, argued the cause for respondent.
Before EDMONDS, Presiding Judge, and WOLLHEIM, Judge, and SERCOMBE, Judge.
PER CURIAM.
Relator, Leupold &amp; Stevens, Inc. (Leupold), appeals the trial court's judgment dismissing its mandamus action against the City of Beaverton (the city) for lack of subject matter jurisdiction. Leupold contends that the trial court erred in concluding that the issue in this case concerns a land use decision over which the Land Use Board of Appeals has exclusive jurisdiction. It also appeals the trial court's supplemental judgment awarding attorney fees to the city.
In light of our decisions in Cogan v. City of Beaverton, 226 Or.App. 381, 203 P.3d 303 (2009) and Leupold &amp; Stevens, Inc. v. City of Beaverton, 226 Or.App. 374, 203 P.3d 309 (2009), we conclude that the trial court incorrectly concluded that it lacked subject matter jurisdiction over this case. Accordingly, we reverse and remand the judgment dismissing the mandamus action and vacate the supplemental judgment awarding the city its attorney fees.
Judgment reversed and remanded; supplemental judgment vacated.
